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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   BEAUFORT DIVISION

UNITED STATES OF AMERICA                        )
                                                )    CRIMINAL NO. 9:22-cr-00658-RMG
                                                )
                    vs.                         )
                                                )
                                                )
RUSSELL LUCIUS LAFFITTE                         )
                                                )

                     GOVERNMENT’S NOTICE OF CROSS-APPEAL

       Notice is hereby given that, under 28 U.S.C. § 1291, the United States of America appeals

to the United States Court of Appeals for the Fourth Circuit from the District Court’s judgment

entered on August 2, 2023. DE 316. This notice of appeal is being filed to permit the United

States sufficient time to assess whether to challenge the waiver of interest on the defendant’s

restitution order. See 28 U.S.C. § 0.20 (stating the Solicitor General shall determine whether, and

to what extent, appeals will be taken by the Government).

                                             Respectfully submitted,

                                             ADAIR F. BOROUGHS
                                             UNITED STATES ATTORNEY

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